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13
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14
                         IN THE UNITED STATES DISTRICT COURT
15
                            CENTRAL DISTRICT OF CALIFORNIA
16
17   CHRISTOPHER RASH, on behalf of                CASE NO.:
     himself and all others similarly situated,
18                                                 CLASS ACTION COMPLAINT
                         Plaintiff,
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           v.
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     TELEBRANDS CORPORATION,
21                                                 JURY TRIAL DEMANDED
                         Defendant.
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     CLASS ACTION COMPLAINT
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 1         Plaintiff, Christopher Rash, on behalf of himself and all others similarly situated,
 2   files this class action complaint against Defendant Telebrands Corporation. On personal
 3   knowledge of his own circumstances and upon investigation and information and belief
 4   of his counsel, Plaintiff Rash alleges the following:
 5                                       INTRODUCTION
 6         1.     Defendant designs and develops, advertises, sells, and distributes expandable
 7   Silver Bullet™ garden water hoses (the “Silver Bullet Hose”) throughout the United
 8   States. Expandable garden water hoses like the Silver Bullet are designed to grow into a
 9   full-sized hose when in use and then shrink back to an original compact size when dry
10   and after the first use. Defendant advertises the Silver Bullet Hoses as being reliable
11   alternatives to conventional rubber garden hoses.
12         2.     The Silver Bullet Hose is available in 25, 50, 75, and 100-foot lengths. The
13   50-foot hose costs approximately $30.00.
14         3.     Through an extensive nationwide marketing and advertising campaign,
15   Defendant represents that Silver Bullet Hoses contain a “DURABLE OUTER SHELL”
16   and that “Silver Bullet’s™ exclusive Bullet Shell outer casing won’t snag, tear, or
17   wear.”1 Plaintiff and members of the Classes were exposed to these representations
18   before purchasing a Silver Bullet Hose. Defendant provided a reasonable expectation to
19   consumers and the industry that Silver Bullet Hoses would be durable and useful for an
20   extended period of time.
21         4.     Additionally, Defendant represents that Silver Bullet Hoses are “super-
22   lightweight and easy to maneuver around your lawn and garden.”2
23         5.     The Silver Bullet Hose promotional materials and packaging reiterates these
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     1
26     https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/dp/B07JCD8TG7;
     see also https://mypockethosesilverBullet.com/?ref=mypockethosesilverBullet.com (both
27   last accessed May 30, 2021).
     2
28     https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/dp/B07JCD8TG7
     (last accessed May 30, 2021).
     CLASS ACTION COMPLAINT                      1
     Case 5:21-cv-00998-JWH-SP Document 1 Filed 06/14/21 Page 3 of 34 Page ID #:3

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 1   claims:3
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22         6.     Plaintiff and members of the Classes saw and relied on the packaging and
23   advertisements prior to purchasing a Silver Bullet Hose. Contrary to Defendant’s
24   advertising and representations, however, shortly after the first use, Silver Bullet Hoses
25   tear, wear, develop pin-holes, and leak. Silver Bullet Hoses are defective and will fail,
26   costing consumers substantial replacement costs.
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     3
28     https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/dp/B07JCD8TG7
     (last accessed May 30, 2021).
     CLASS ACTION COMPLAINT                  2
     Case 5:21-cv-00998-JWH-SP Document 1 Filed 06/14/21 Page 4 of 34 Page ID #:4

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 1         7.     Despite these proven defects, Defendant continue to market and sell Silver
 2   Bullet Hoses to the public and continues to make false representations.
 3         8.     Plaintiff brings this action to seek redress for damages caused by
 4   Defendant’s wrongful conduct.
 5                                         JURISDICTION
 6         9.     This Court has subject matter jurisdiction over this action pursuant to 28
 7   U.S.C. section 1332(d)(2) because this civil action is a class action in which the matter in
 8   controversy exceeds $5,000,000.00 exclusive of interest and costs, and Plaintiff is a
 9   citizen of a state that is different than the state of which Defendant is a citizen.
10         10.    Venue is proper in this Court pursuant to 28 U.S.C. section 1391(b) because
11   a substantial part of the events or omissions giving rise to Plaintiff’s and the members of
12   the Classes’ claims occurred in this District, and Defendant is subject to the Court’s
13   personal jurisdiction.
14         11.    As a result of Defendant’s designing, developing, advertising, selling, and
15   distributing Silver Bullet Hoses to purchasers throughout California, either directly or
16   indirectly through third parties or related entities, Defendant obtained the benefits of
17   California law and profited from California commerce.
18         12.    Defendant conducted systematic and continuous business activities in and
19   throughout the state of California and otherwise intentionally availed itself of the markets
20   of the state of California through the promotion and marketing of its products.
21                                             PARTIES
22         13.    Plaintiff Christopher Rash is a resident of Corona, California.
23         14.    Telebrands Corporation is a New Jersey corporation with its principal place
24   of business and headquarters located at 79 Two Bridges Road, Fairfield, NJ 07004.
25   Telebrands is a direct television marketing company and is engaged in the business of
26   marketing and selling a wide variety of consumer products nationwide.
27   \\\

28   \\\

     CLASS ACTION COMPLAINT                          3
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 1                                 FACTUAL ALLEGATIONS
 2   Plaintiff Rash’s Factual Allegations.
 3         15.    In approximately June 2019, Plaintiff Rash viewed a television infomercial
 4   for the Silver Bullet Hose, which touted its qualities, including that it had a “DURABLE
 5   OUTER SHELL: Pocket Hose Silver Bullet’s exclusive Bullet Shell outer casing won’t
 6   snag, tear, or wear; inner tubing is kink-proof”4 and led Mr. Rash to believe that it would
 7   be long lasting and durable. In reliance on the representations in the informercial,
 8   Plaintiff Rash purchased a 25-foot Silver Bullet Hose for approximately $19.99 on
 9   Amazon.com. Mr. Rash believes the hose he purchased lasted for approximately four (4)
10   weeks before fraying, wearing out, developing pin-holes, and leaking. Mr. Rash
11   estimates that he used the hose fewer than 10 times.
12         16.    Mr. Rash then attempted to return the Silver Bullet Hose via Amazon but
13   was not permitted to do so. Instead, he was directed to the product’s manufacturer, Purple
14   Cow CSJ, LLC d/b/a Bulbhead the Home of Bright Ideas (“Bulbhead”). According to
15   Amazon’s website, Bulbhead is the exclusive reseller of products from Telebrands and
16   Bulbhead.5
17         17.    Mr. Rash then attempted to return the Silver Bullet Hose to Bulbhead, but
18   Bulbhead made it so difficult and burdensome that he ultimately gave up.
19         18.    On July 18, 2019, disappointed by Defendant’s failure to address or remedy
20   the defects and problems with his Silver Bullet Hose, Mr. Rash posted the following
21   complaint and two photos (showing the pin hole leaking) on Amazon’s website:
22         Customer Review
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24
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26     https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/dp/B07JCD8TG7
     (last accesssed June 3, 2021).
27   5
       https://www.amazon.com/sp?_encoding=UTF8&asin=&isAmazonFulfilled=1&isCBA=
28   &marketplaceID=ATVPDKIKX0DER&orderID=&protocol=current&seller=A313TAO
     OW7I8GZ&sshmPath= (last visited December 21, 2020).
     CLASS ACTION COMPLAINT                  4
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 1         Chris Rash

 2         1.0 out of 5 stars The single jacket covering the rubber hose wears easily
 3         causing rubber hose to burst
           Reviewed in the United States on July 18, 2019
 4         Color: 75 Feet
 5         As a firefighter, I was curious to see how this hose performed. I purchased a
           25' hose and used it for four (4) weeks. During that time, I used the hose twice
 6         a week to hose down my patio and walkways. The hose worked well.
 7         However, I noticed that the single jacket sheath that is wrapped around the
           interior rubber hose, easily began to fray while being drug across the concrete,
 8         causing the interior rubber hose to be exposed and burst. The nozzle worked
 9         well at first, but after each use, the effectiveness of the stream became less
           and less, to where it could not maintain a consistent straight stream. This is
10         hose is a great idea, but the outer sheath needs to be double jacketed and the
11         nozzle needs improvement.
           19.   As described in the review and shown in the photos below, Mr. Rash’s
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     Silver Bullet Hose frayed and developed pin-holes, which rendered it useless.
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     CLASS ACTION COMPLAINT                       5
     Case 5:21-cv-00998-JWH-SP Document 1 Filed 06/14/21 Page 7 of 34 Page ID #:7

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16         20.    Mr. Rash would not have purchased the Silver Bullet Hose had Defendant
17   disclosed the propensity for the Silver Bullet to fail. Defendant represents that Silver
18   Bullet Hoses contain a “DURABLE OUTER SHELL” and that “Silver Bullet’s™
19   exclusive Bullet Shell outer casing won’t snag, tear, or wear.”6
20   Defendant and the Silver Bullet Hose.
21         21.    Telebrands, the original creator of the “As Seen On TV” logo, is one of the
22   oldest and most recognized companies in the direct response television marketing
23   industry (“DRTV”). DRTV employs aggressive marketing campaigns designed to
24   generate an immediate response from consumers in the form of sales or product orders.
25   With DRTV campaigns, the viewer’s response is directly with the marketer, in this case
26
27   6
       https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/dp/B07JCD8TG7;
28   see also https://mypockethosesilverBullet.com/?ref=mypockethosesilverBullet.com (both
     last accessed May 30, 2021).
     CLASS ACTION COMPLAINT                      6
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 1   Telebrands.
 2         22.     The “As Seen On TV” advertisement for the Silver Bullet Hoses claims the
 3   hose will not “tear or burst.”7
 4         23.     On websites promoting the Silver Bullet Hose8 (the “Silver Bullet Website”)
 5   the product is described as “hassle free,” “making other hoses obsolete,” and having an
 6   outer casing that is “resistant” to “tearing and wearing.”
 7         24.     In addition, the Silver Bullet Website boasts:
 8         Things that used to be big and bulky now fit in your pocket - even your hose!
           From the makers of the #1 expandable hose in the world comes another
 9
           amazing Pocket Hose®, the Pocket Hose® Silver Bullet™. The new Silver
10         Bullet™ is the hassle-free hose. Just turn on the water and watch the Silver
           Bullet™ grow from pocket size to supersize. It's the hands-free hose that
11
           grows! Then, when you're finished, just turn off the water and Silver Bullet™
12         shrinks to a super-light Pocket Hose® again. Pocket Hose® Silver Bullet™
           stores easily and is perfect for boats and RVs. The exclusive Bullet Shell
13
           outer casing won't snag, tear, or wear.9 (Emphasis added).
14         25.     The Silver Bullet Website claims, “Over 100 Million Satisfied Customers,”
15   “100% Percent Satisfaction Guaranteed,” and “Easy Returns.” The Website prominently
16   claims “100% Satisfaction Guarantee.”10
17         26.     Silver Bullet Hoses are marketed and sold for use as a reliable water hose.
18   Yet, Defendant has concealed from and/or failed to disclose to Plaintiff and members of
19   the Classes the defective nature of the Silver Bullet Hoses, which shortly after the first
20   use are prone to tears, pin-holes, and leaks.
21         27.     Defendant has used and continues to use a variety of methods to
22   communicate representations about the durability and quality of the Silver Bullet Hose to
23
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24     https://www.ebay.com/itm/Pocket-Hose-Silver-Bullet-Expandable-Water-Hose-As-
     Seen-On-TV-255075100-/173959016175 (last accessed December 12, 2020).
25   8
       https://mypockethosesilverBullet.com/?ref=mypockethosesilverBullet.com (last
26   accessed May 30, 2021).
     9
       https://mypockethosesilverBullet.com/?ref=mypockethosesilverBullet.com (last
27   accessed May 30, 2021).
     10
28      https://mypockethosesilverBullet.com/?ref=mypockethosesilverBullet.com (last
     accessed May 30, 2021).
     CLASS ACTION COMPLAINT                      7
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 1   the general public. These uniform representations were and are published on Internet
 2   sites, including Amazon.com, and on television. Defendant touts the hoses to have a
 3   “DURABLE OUTER SHELL” and “exclusive . . . outer casing” that “won’t snag, tear, or
 4   wear.”11 Defendant also touts that the hose “Grows to 25, 50 75 or 100 Feet!”
 5         28.    Proper testing of the Silver Bullet Hoses by Defendant would have revealed
 6   the hoses are not durable and do indeed tear.
 7         29.    Silver Bullet Hoses do not conform to Defendant’s numerous
 8   misrepresentations.
 9   Defendant’s Knowledge of and Notice of the Defects.
10         30.    Since at least 2009, Defendant has been aware of the Silver Bullet Hose
11   defects.
12         31.    At minimum, three class action lawsuits were filed against Telebrands
13   concerning the Silver Bullet Hose defects and leaks, similar in nature to the claims
14   alleged here. See Alex Arreguin Jr. v. Telebrands, Case No. CIVRS1307798, Sup. Ct. of
15   Cal. (San Bernadino County) (complaint filed on November 6, 2009, and 2014
16   Settlement Agreement and Release,12 page 4, states allegations concerning “false and
17   misleading statements in its labeling and advertising of the Covered Products, including
18   that the product was defective, and that they suffered injury as a result of those alleged
19   statements”); Inocencio v. Telebrands Corp., L-4378-16, Sup. Ct. of N.J. (Bergen
20   County) (amended complaint filed on August 31, 2016, and 2016 Settlement Agreement
21   and Release,13 page 1, states allegations concerning “false and misleading claims about
22   the durability, construction, and suitability of the Pocket Hose products as garden
23   hoses”); Klemballa v. Telebrands Corp., 14-cv-01245 (D.N.J.) (complaint filed in 2014).
24   11
        https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/dp/B07JCD8TG7;
25   see also https://mypockethosesilverBullet.com/?ref=mypockethosesilverBullet.com (last
26   accessed May 30, 2021).
     12
        https://www.truthinadvertising.org/wp-content/uploads/2014/04/Arreguin-v.-
27   Telebrands-settlement-agreement-.pdf (last accessed May 30, 2021).
     13
28      https://www.truthinadvertising.org/wp-content/uploads/2016/12/Stipulation-of-
     Settlement.pdf (last accessed May 30, 2021).
     CLASS ACTION COMPLAINT                      8
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 1          32.   In addition, consumers have made detailed online complaints about the
 2    Silver Bullet Hose. These complaints include dates, details about the defect and negative
 3    reactions to how Defendant handled them. All of this information put Defendant on
 4    notice concerning the Silver Bullet Hoses’ defects. One purchaser summed up the Silver
 5    Bullet as “basically a balloon in a sock.” A sampling of these online complaints are as
 6    follows [sic throughout]:
 7    a.    Kenneth A. Burt on Amazon, May 14, 201914
            Very disappointed as when I put a nozzle on it and turned the pressure up on
 8
            the faucet the hose burst & is now junk. Would NOT recommend this hose to
 9          ANYONE!
10    b.    Sasha Doo on Amazon, June 3, 2019 15
            I ordered this hose as I liked the features, especially that it was safe to drink
11
            out of. The first one leaked between the hose and threaded part that attaches
12          to the spigot. I returned it and asked for a replacement thinking this was just
            a fluke. Unfortunately, the replacement did the same thing so I returned that
13
            one without trying for a 3rd time. So disappointing. I don't think it deserves
14          any stars but couldn't post without it.
15    c.    Consumer Advocate on Amazon, June 26, 201916
            LEAKED profusely from the minute I turned water on. Yes, all the gaskets
16
            were in place and I've owned MANY of this type of hose but NEVER seen
17          one leak like this.
            FASTEST return to Amazon I may ever make.
18
            P.S. This hose also lacks a shutoff valve which most other expandable hoses
19          include.
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23    14
         https://www.amazon.com/gp/customer-
24    reviews/R2QDQRZJG2QHO2/ref=cm_cr_dp_d_rvw_ttl?ie=UTF8&ASIN=B07JCD8TG
      7 (last accessed December 11, 2020).
25    15
         https://www.amazon.com/gp/customer-
26    reviews/R2EOVFLAMI8VEG/ref=cm_cr_othr_d_rvw_ttl?ie=UTF8&ASIN=B07JQZWJ
      JS (last accessed December 11, 2020).
27    16
         https://www.amazon.com/gp/customer-
28    reviews/R3N0ZLSE27XA7O/ref=cm_cr_othr_d_rvw_ttl?ie=UTF8&ASIN=B07JQZWJJ
      S (last accessed December 11, 2020).
      CLASS ACTION COMPLAINT                 9
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 1    d.    Hans Gunder on Amazon, July 13, 201917
 2          Hands down the worst product I've ever purchased. First use and it is leaking
            like a sieve from BOTH connections. My time is too valuable to return, but it
 3          is my civic duty to warn others. Straight to the trash can.
 4    e.    Steven Kozuch on Amazon, August 1, 201918
 5          I purchased this hose to use while bathing dogs. It is not dragged around the
            yard or pulled on. I bathed three dogs. (my water pressure is 75 psi. I received
 6          it July 31 2019 and it is being returned August 1, 2019. This is how
 7          disappointing this purchase is.
            When I started to bath the danes - the hose would sit longer while scrubbing
 8          the dog. By the third dane - just from the pressure sitting in the hose - the hose
 9          separated from the connector. I read other reviews people saying this hose
            split or burst the first couple uses - I assumed they abused the hose - WRONG
10          this thing cannot take normal water pressure.
11    f.    Michael F. on Amazon, May 14, 202019
12          Leaking from the first moment I turned it on. Really looks poorly constructed.
            Feel like I just bought marketing and not a product. Look elsewhere for a hose
13          and skip this one. TV ads look great, but product is just more cheap junk in
14          reality. (Or buy one and maybe you will get lucky)
      g.    Gary P Nowicki, July 8, 202020
15
            Hose is garbage, you'll be lucky to get a week out of it … Bought the 75 foot
16          hose and used it for about a week. Sprung a leak while under no duress (no
17          sharp rocks, kinks or other reason). Called Telebrands/Bulbhead for a
            replacement. They are going to send a replacement once I ship back my hose
18          at my expense. Would STRONGLY not recommend buying this product. It's
19          basically a balloon in a sock.

20    17
         https://www.amazon.com/gp/customer-
21    reviews/R2CC43IKV5J6LQ/ref=cm_cr_othr_d_rvw_ttl?ie=UTF8&ASIN=B07JQZWJJS
22    (last accessed December 11, 2020).
      18
         https://www.amazon.com/gp/customer-
23    reviews/R3K21XYRMDYZ3L/ref=cm_cr_dp_d_rvw_ttl?ie=UTF8&ASIN=B07JCD8TG
24    7 (last accessed December 11, 2020).
      19
         https://www.amazon.com/gp/customer-
25    reviews/R2WFFD3ESOAKEK/ref=cm_cr_dp_d_rvw_ttl?ie=UTF8&ASIN=B07JCD8TG
26    7 (last accessed December 11, 2020).
      20
         https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/product-
27    reviews/B07JCD8TG7/ref=cm_cr_arp_d_viewopt_kywd?ie=UTF8&reviewerType=all_r
28    eviews&pageNumber=1&filterByKeyword=telebrand (last accessed December 23,
      2020).
      CLASS ACTION COMPLAINT                  10
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 1    h.    Nathan H Early, July 19, 202021

 2          It's not very durable … Overall, this is a great concept for a hose. Lightweight,
            compact, and generally an improvement over the classic green hard rubber
 3          hoses. Durability is lacking, though. Had this hose for only a month before it
 4          sprang a leak. I imagine it's only a matter of a week before it explodes like a
            similar, lower quality version I replaced with this hose. For context, I use this
 5          thing once or twice a week, never leave it under pressure, and store it on a
 6          wall mount in the shade.

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      i.    Housefulofpets on Amazon, July 24, 202022
15          Update - I contacted BulbHead (after going on the Silver Bullet™ website to
16          find that their "contact us" page was empty, then contacting through the form
            on the Bulb Head website and not receiving a response, I finally found a
17          customer service email address posted on another site) and was told the hose
18          is warrantied for 5 years, but I would have to pay to ship it (approx $10) and
            pay a service fee of $6.99, and if they decide the tear doesn't fit their warranty
19          requirements, they won't replace it or return my damaged hose.
20          I've had this hose for a little over a month, and it suddenly started gushing
            water from under the sleeve at the nozzle end. It's not a part that can be
21          tightened, and it must be torn at the seam.
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25    21
         https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/product-
26    reviews/B07JCD8TG7/ref=cm_cr_getr_d_paging_btm_next_5?ie=UTF8&reviewerType
      =all_reviews&pageNumber=5 (last accessed December 23, 2020).
27    22
         https://www.amazon.com/gp/customer-
28    reviews/RLL7MAON9MVID/ref=cm_cr_arp_d_rvw_ttl?ie=UTF8&ASIN=B07JCD8TG
      7 (last accessed December 11, 2020).
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 1    j.    Eran Ben-Levi, July, 28, 202023
 2          A hose with great features but cheaply made! … I love how light this hose is
            and how you can easily move it around/store it. Unfortunately, my Silver
 3          Bullet hose burst after only one month of using it! The material used is very
 4          flimsy and weak.Advice: Shut off the water right away after you’re done,
            otherwise if you step away even for a few minutes your hose will burst and
 5          cause damage!
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      k.    Lewis B. on Highya.com, August 9, 202024
18
            I purchased two 50' hoses, one broke after a week. It's been 6 weeks since I've
19          spoken to someone. Never received a replacement. Since then, the other broke
            and now no one answers the phone. This place is going out of business. It's a
20
            total scam, all they do is sell you the hose and once it breaks you will never
21          get another one. There is no way to contact them anymore. No phone, no
            email. They just try to sell you more junk that will break!
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26       https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/product-
      reviews/B07JCD8TG7/ref=cm_cr_getr_d_paging_btm_next_12?ie=UTF8&reviewerTyp
27    e=all_reviews&pageNumber=12 (last accessed December 11, 2020).
      24
28       https://www.highya.com/pocket-hose-silver-Bullet-reviews (last accessed December
      11, 2020).
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 1    l.    Janet on Walmart.com, August 18, 202025
 2          Save your money and avoid this item!! I have bought 2 of these and both were
            used only a couple times, both of them split inside and now they are junk!!
 3          60.00 WASTED
 4    m.    J.B. on Highya.com, August 24, 202026
 5          This hose leaks badly at ALL connections, does not expand or retract, has no
            pressure at all. The water just dribbles out of the end of the hose. This is the
 6          worst hose I have ever used. Two 25' sections cost me over $40 and when
 7          advertised I was supposed to get 1 hose for free with a nozzle on each one,
            only 1 hose had the nozzle. This hose is crap and I'm sending it back. This
 8          hose isn't worth $5, don't get duped like I did.
 9    n.    John on Walmart.com, August 28, 202027
10          Absolute garbage. I'd give it zero stars if I could. I'd also give their company
            zero stars for terrible customer service. DO NOT BUY THIS PIECE OF
11          JUNK. I promise you'll regret it if you do, it didn't last 2 days.
12    o.    Unnamed review on Home Depot Website, August 30, 202028
13           I bought a similar hose year several years back from home depot, it was
            absolutely horrible, I was one of many that had returned this product, the
14          employee that helped me admitted it was garbage, and was pretty sure they
15          would stop selling it. A few months ago, I saw the new silver Bullet™ version,
            thinking, oh Home Depot has integrity and would never sell this garbage
16          again, well I have to tell you, they are selling this crap once again, water
17          instantly leaked out, till eventually, it no longer runs through the hose. Thanks
            home depot, unfortunately I threw away the receipt, and am stuck with this
18          worthless piece of crap.
19    p.    “CM” on the Home Depot website, September 7, 202029
            I purchased the 50 ft version and within 2 months with LIMITED use the
20
21    25
         https://www.walmart.com/reviews/product/747544973?sort=rating-asc (last accessed
22    December 11, 2020).
      26
         https://www.highya.com/pocket-hose-silver-Bullet-reviews (last accessed December
23    11, 2020).
      27
24       https://www.walmart.com/reviews/product/747544973?sort=rating-asc (last accessed
      December 11, 2020).
25    28
         https://www.homedepot.com/p/Pocket-Hose-Silver-Bullet-1-05-in-Dia-x-50-ft-
26    Standard-Duty-Expandable-Water-Hose-13397-6/306703479 (last accessed December
      11, 2020).
27    29
         https://www.homedepot.com/p/Pocket-Hose-Silver-Bullet-1-05-in-Dia-x-50-ft-
28    Standard-Duty-Expandable-Water-Hose-13397-6/306703479 (last accessed December
      11, 2020).
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 1          product already had a hole in it. Avoid this completely.
      q.    Amazon Customer, September 9, 202030
 2
            IT JUNK !!! … I BOUGHT 2 OF THESE AND 1 GOT A HOLE AND
 3          SPRUNG A LEAK AFTER JUST 2 WEEKS, IT WAS REPLACED AT NO
 4          CHARGE BUT NOW THE 2ND DID THE SAME AND RETURN
            WINDOW IS CLOSED. JUST JUNK
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
      r.    Amazon Customer, September 22, 202031
23          No matter how careful you are it will get a hole … Hole in hose after not even
24          a season. I’ve had these hoses before and they usually last about two years.

25    30
         https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/product-
26    reviews/B07JCD8TG7/ref=cm_cr_getr_d_paging_btm_next_28?ie=UTF8&reviewerTyp
      e=all_reviews&pageNumber=28 (last accessed December 23, 2020).
27    31
         https://www.amazon.com/Pocket-Hose-Original-Silver-BulbHead/product-
28    reviews/B07JCD8TG7/ref=cm_cr_getr_d_paging_btm_next_10?ie=UTF8&reviewerTyp
      e=all_reviews&pageNumber=10 (last accessed December 23, 2020).
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 1          This one we handled with utmost delicate care... still got a hole, for no reason.
            Utter ripoff. Amazon of course won’t accept return because after 30 days they
 2          throw up their hands and pretend they have nothing to do with your purchase
 3
 4
 5
 6
 7
 8
 9
10
11
12
      s.    Cindy M. on Highya.com, October 13, 202032
13          I bought two 25 ft, 3/4-inch hoses for $40.97 and both sprung leaks within
14          less 15 minutes of use. I couldn't believe it and unfortunately I didn't open
            them up until the 30 days had passed. Finding a customer service number was
15          impossible to even see if something could be done, the most expensive hose
16          in history.
      t.    James K. on Highya.com, October 13, 202033
17
            I bought the hose and hooked to the spigot and the first time my wife tried to
18          use it blew apart. I only had it for 2 months.
19    u.    William on Walmart.com, October 31, 202034
20          Absolutely NOT DURABLE! Owned 3 of these and they all fail with random
            leaks that pop up somewhere within the hose after a few months (if not
21          sooner). I've tried this a few times thinking maybe I got a dud. But I'm done
22          with this brand. Absolute garage quality.

23
24
25    32
         https://www.highya.com/pocket-hose-silver-Bullet-reviews (last accessed December
26    11, 2020).
      33
         https://www.highya.com/pocket-hose-silver-Bullet-reviews (last accessed December
27    11, 2020).
      34
28       https://www.walmart.com/reviews/product/747544973?sort=rating-asc (last accessed
      December 11, 2020).
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 1    v.    “Chef” on the home depot website, November 4, 202035
 2          I bought this 100 ft hose In April to use with my electric power washer. I
            thought it would help eliminate my need to keep moving the machine. Initially
 3          it did exactly that. I stored the machine with the hose removed in my garage.
 4          In October I connected the machine to do some fall cleaning. To my surprise
            the hose disintegrated and broke off. I reviewed the warranty and it’s only
 5          good for 30 days. It’s a good idea for a hose but for $50 it needs to be made
 6          with better parts.
      w.    “VG29” on the home depot website, November 6, 202036
 7
            This hose is cheaply made- it is always too forceful and then after a few
 8          months of light use, it burst :(
 9          33.    Defendant knowingly and intentionally concealed that Silver Bullet Hoses
10    fail and leak when promoting the product on their website and in advertisements.
11          34.    Defendant has ignored customers’ complaints and concerns and has failed to
12    implement any changes to the Silver Bullet Hose to remedy the product defects.
13    Defendant’s Actions Have Injured Plaintiff and the Class.
14          35.    Defendant knew and failed to disclose that the Silver Bullet Hose is not
15    properly designed, tested, or developed to withstand tearing, warping, and leaking. The
16    Silver Bullet Hose reached the consuming public, including Plaintiff, without substantial
17    correction of its defects and without warning of the latent defects alleged here.
18          36.    Defendant continues to advertise and sell the Silver Bullet Hose, without
19    disclosing to Plaintiff and members of the Classes, that the Silver Bullet Hose is
20    defectively formulated and designed. This information would be material to a reasonable
21    consumer in deciding whether to purchase the product, and Defendant had a duty to
22    disclose these facts.
23          37.    Defendant did not provide warnings with the Silver Bullet Hose or otherwise
24
25    35
         https://www.homedepot.com/p/Pocket-Hose-Silver-Bullet-1-05-in-Dia-x-50-ft-
26    Standard-Duty-Expandable-Water-Hose-13397-6/306703479 (last accessed December
      11, 2020).
27    36
         https://www.homedepot.com/p/Pocket-Hose-Silver-Bullet-1-05-in-Dia-x-50-ft-
28    Standard-Duty-Expandable-Water-Hose-13397-6/306703479 (last accessed December
      11, 2020).
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 1    warn consumers of the problems Defendant knew existed. To this day, Defendant has
 2    concealed its knowledge of the Silver Bullet Hose defects from the public. Furthermore,
 3    to this day, Defendant has not issued a recall.
 4          38.    The Silver Bullet Hose, which fails after a few uses, does not perform in
 5    accordance with the reasonable expectations of Plaintiff and members of the Classes.
 6          39.    Had Defendant disclosed the truth about the inadequate design, reliability
 7    and performance of the Silver Bullet Hose, Plaintiff and members of the Classes would
 8    not have purchased the Silver Bullet™ Hose.
 9          40.    Because the defects in the Silver Bullet Hose are latent and not detectable
10    until manifestation, Plaintiff and the members of the Classes were not reasonably able to
11    discover Silver Bullet Hoses were defective, even with the exercise of due diligence.
12          41.    As a result of Defendant’s misconduct, Plaintiff and members of the Classes
13    have suffered actual damages and will continue to do and require Plaintiff and members
14    of the Classes to expend money to repair or replace their Silver Bullet Hoses.
15          42.    The damages suffered by Plaintiff and members of the Classes were not
16    foreseeable from the perspective of Plaintiff and the Class, and Defendant did not warn
17    Plaintiff and the Class that the Silver Bullet Hoses would fail.
18          43.    Defendant has failed adequately to compensate Plaintiff and the Class for
19    damages suffered as a result of the defective Silver Bullet Hoses.
20          44.    It is unlikely that most members of the Classes could afford to seek recovery
21    against Defendant on their own. A class action is therefore the only viable, economical,
22    and rational means for members of the Classes to recover from Defendant for the
23    damages Defendant has caused.
                   PLAINTIFF’S CLAIMS ARE NOT BARRED BY THE
24                             STATUTE OF LIMITATIONS
25          45.    Defendant knew the Silver Bullet Hose was defective prior to the time of
26    sale and intentionally and wrongfully concealed material information concerning its
27    products from Plaintiff, members of the Class and the general public, all the while
28    continually marketing and promoting Silver Bullet Hoses. Defendant’s acts of fraudulent
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 1    concealment include failing to disclose that Silver Bullet Hoses were defectively
 2    designed and/or developed and would deteriorate.
 3          46.     Because Silver Bullet Hose defects are latent and not detectable until
 4    manifestation, Plaintiff and members of the Class were not reasonably able to discover
 5    the Silver Bullet Hose was defective and unreliable until recently, despite their exercise
 6    of due diligence.
 7          47.     Therefore, the applicable statutes of limitation have been tolled with respect
 8    to any claims that Plaintiff or the members of the Classes have brought or could have
 9    brought as a result of the unlawful or fraudulent course of conduct described herein.
10          48.     Defendant had a duty to disclose the Silver Bullet Hose defects and that it
11    would fail long before the expected use period. Nonetheless, Defendant never disclosed
12    the defects to Plaintiff and the Classes.
13          49.     As a result, Defendant is estopped from pleading any statute of limitations
14    defense. Defendant actively concealed and misrepresented to Plaintiff and the members
15    of the Classes essential facts that underlay Plaintiff’s and the members of the Classes’
16    claims. Therefore, Defendant prevented Plaintiff and the members of the Classes from
17    learning about these claims earlier. Had Plaintiff and the Classes been aware of the facts
18    which Defendant misrepresented and concealed, they could have acted to prevent damage
19    to themselves.
20                                CLASS ACTION ALLEGATIONS
21          50.     Plaintiff brings this action as a class action pursuant to Rule 23 of the
22    Federal Rules of Civil Procedure on behalf of themselves and the classes. This action
23    satisfies requirements set forth in Rule 23(a) and Rule 23(b)(3).
24          51.     Plaintiff advances this action on behalf of the following classes (the
25    “Classes”):
                    Nationwide Class: All individuals and entities in the United
26                  States who purchased Silver Bullet Hoses, not directly from
27                  Defendant, that were developed and marketed by Defendant.
                    Excluded from the Nationwide Class are Defendant, its legal
28                  representatives, assigns and successors and any entity in which
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 1                   Defendant has a controlling interest. Also excluded is the judge
                     to whom this case is assigned and any member of the judge’s
 2                   immediate family and judicial staff.
 3
                     California Class: All individuals and entities in the State of
 4                   California who purchased Silver Bullet Hoses, not directly from
 5                   Defendant, that were developed and marketed by Defendant.
                     Excluded from the California Class are Defendant, its legal
 6                   representatives, assigns and successors and any entity in which
 7                   Defendant has a controlling interest. Also excluded is the judge
                     to whom this case is assigned and any member of the judge’s
 8                   immediate family and judicial staff.
 9    Claims for personal injury are specifically excluded from the Classes.
10          52.      Numerosity (Rule 23(a)(1)). Although the actual size of the Classes is
11    uncertain, Plaintiff is informed and believes that the Classes are comprised of at least
12    many thousands of property owners, and that the Silver Bullet Hoses have been sold to
13    thousands of customers making joinder impractical. The disposition of the claims of
14    these members of the Classes in a single class action will provide substantial benefits to
15    all parties and to the Court.
16          53.      Commonality (Rule 23(a)(2)). There exist questions of law and fact
17    common to all members of the Classes. Common questions include, but are not limited
18    to, the following:
19          a. Whether the Silver Bullet Hose is subject to premature failure well in advance
20                of its represented useful life for a water hose;
21          b. Whether the Silver Bullet Hose is not suitable for use;
22          c. Whether Defendant knew, or should have known, of the Silver Bullet Hoses’
23                defects before making it available for purchase and use by Plaintiff and
24                members of the Classes;
25          d. Whether Defendant failed to disclose to Plaintiff and members of the Classes
26                the defective nature of the Silver Bullet Hose;
27          e. Whether Defendant, by making misleading representations of material facts
28                regarding the Silver Bullet Hose qualities, omitted material facts regarding the

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 1             particular susceptibility of the Silver Bullet hose to warp, develop pin-holes,
 2             and leak;
 3          f. Whether Defendant’s practices, by repeatedly concealing the true nature of the
 4             Silver Bullet Hose defects, violated common laws and statutes.
 5          g. Whether Defendant owed a duty to Plaintiff and members of the Classes to
 6             exercise reasonable and ordinary care in developing, testing, designing,
 7             producing, and marketing the Silver Bullet Hose;
 8          h. Whether Defendant breached its duties to Plaintiff and members of the Classes
 9             by developing, designing, producing, marketing, advertising, and selling
10             defective the Silver Bullet Hose to Plaintiff and members of the Classes;
11          i. Whether Defendant had a duty to Plaintiff and members of the Classes to
12             disclose the true nature of the Silver Bullet hose;
13          j. Whether the facts concerning the Silver Bullet Hose not disclosed by Defendant
14             to Plaintiff and members of the Classes are material facts;
15          k. Whether Defendant knew, or should have known the Silver Bullet Hose would
16             prematurely fail, is not suitable for use as a hose and is otherwise not as
17             represented by Defendant;
18          l. Whether Defendant improperly breached warranties;
19          m. Whether Plaintiff and members of the Classes are entitled to compensatory
20             damages, restitution, and the amounts thereof respectively;
21          n. Whether Defendant should be declared financially responsible for notifying all
22             members of the Classes of the defective Silver Bullet Hose and for the costs and
23             expenses of repair and replacement of all defective hose materials and for
24             providing restitution of monies paid and inadequate value given;
25          o. Whether Defendant should be ordered to disgorge, for the benefit of members
26             of the Classes, all or part of their ill-gotten profits received from the sale of
27             defective the Silver Bullet Hose and/or to make full restitution to Plaintiff and

28             members of the Classes; and

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 1          p. Whether Defendant should be enjoined from continuing to market the Silver
 2                Bullet Hoses using misleading misrepresentations and omission of material
 3                facts.
 4          54.      Typicality (Rule 23(a)(3)). The claims of the representative Plaintiff are
 5    typical of the claims of members of the Classes, in that the representative Plaintiff, like
 6    all members of the Classes, purchased a defective Silver Bullet Hose that failed
 7    prematurely. The representative Plaintiff, like all members of the Classes, has suffered a
 8    common injury: He paid for a defective product that he would not have purchased had he
 9    known the truth about it. The factual basis of Defendant’s misconduct is common to all
10    members of the Classes.
11          55.      Adequacy (Rule 23(a)(4)). Plaintiff will fairly and adequately represent and
12    protect the interests of the Class. Plaintiff has retained counsel with substantial
13    experience in prosecuting consumer class actions, including actions involving defective
14    building products, failure to disclose material information regarding product performance
15    and violation of consumer protection statutes. Plaintiff and his counsel are committed to
16    vigorously prosecuting this action on behalf of the Classes and have the financial
17    resources to do so. Neither Plaintiff nor his counsel have any interests adverse to those of
18    the Classes.
19          56.      Predominance of Common Questions (Rule 23(b)(3)). Common questions
20    of law and fact predominate over any questions involving individualized analysis.
21    Fundamentally, there are no material questions of fact or law that are not common to
22    members of the Classes. The performance of the Silver Bullet Hoses relative to their
23    represented qualities is a common question, as is the Defendant’s knowledge regarding
24    the Silver Bullet Hoses performance and Defendant’s uniform omission to members of
25    the Classes of these material facts. Common questions of law include whether
26    Defendant’s conduct violates consumer protection statutes and other laws, and the
27    members of the Classes’ entitlement to damages and remedies.

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 1          57.      Superiority (Rule 23(b)(3)). Plaintiff and members of the Classes have
 2    suffered and will continue to suffer harm and damages as a result of Defendant’s
 3    unlawful and wrongful conduct. A class action is superior to other available methods for
 4    the fair and efficient adjudication of the subject controversy. Most members of the
 5    Classes likely would find the cost of litigating their individual claims to be prohibitive
 6    and will have no effective remedy at law. Thus, absent a class action, members of the
 7    Classes will continue to incur damages and Defendant’s misconduct will proceed without
 8    remedy. Class treatment of common questions of law and fact is also superior to multiple
 9    individual actions or piecemeal litigation in that it conserves the resources of the courts
10    and the litigants and promotes consistency and efficiency of adjudication. There is no
11    impediment to the management of this action because of the virtual identity of the
12    questions of law and fact common to all members of the Classes.
13          58.      Injunctive Relief (Rule 23(b)(2)). Defendant has engaged in, and continue
14    to engage in, business practices which are unfair and fraudulent by, among other things,
15    advertising and representing that Silver Bullet Hoses have characteristics and benefits
16    they do not.
17          59.      Plaintiff seeks class-wide injunctive relief on grounds consistent with the
18    standards articulated in Rule 23(b)(2) that establish final injunctive relief as an
19    appropriate class-wide remedy, in that Defendant continues to advertise the Silver Bullet
20    Hose, continues to provide half-truths and misleading information about the Silver Bullet
21    Hose and continues to omit material facts regarding the Silver Bullet Hose. The injuries
22    suffered by Plaintiff and the Classes as a result of Defendant’s actions are ongoing.
                                                     `
23                                   FIRST CAUSE OF ACTION
24                Violation of California Consumers Legal Remedies Act (“CLRA”)
                    (On Behalf of the Nationwide Class and the California Class)
25
            60.      Plaintiff incorporates by reference the allegations contained in paragraphs 1
26
      through 59 of this Complaint.
27
            61.      Defendant is a “person” as defined by California Civil Code section 1761(c).
28
            62. Defendant engaged in unfair competition or unfair or deceptive acts or
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 1    practices in violation of California Civil Code sections 1770(a)(5), (a)(7), and (a)(9)
 2    when Defendant failed to disclose that Silver Bullet Hoses warp, tear, develop pin-holes,
 3    leak and suffer other defects complained of by Plaintiff and members of the Classes.
 4    Defendant further violated the CLRA when it falsely represented the Silver Bullet Hose
 5    was of a particular standard or quality. Defendant represents that Silver Bullet Hoses
 6    contain a “DURABLE OUTER SHELL” and that “Silver Bullet’s™ exclusive Bullet
 7    Shell outer casing won’t snag, tear, or wear.” Plaintiff and Class Member’s relied on
 8    Defendant’s representations.
 9          63.    Defendant’s deceptive practices were specifically designed to induce
10    Plaintiff and members of the Classes to purchase the Silver Bullet Hose. Defendant
11    engaged in marketing efforts as detailed in the general allegations, to reach members of
12    the Classes, their agents, and/or third parties on which they relied to persuade them to
13    purchase Silver Bullet Hoses developed and marketed by Defendant.
14          64.    To this day, Defendant continues to engage in unlawful practices in violation
15    of the CLRA. Defendant continues to conceal the defective nature of the Silver Bullet
16    Hose and have omitted to disclose, on inquiry from Plaintiff and members of the Classes,
17    the Silver Bullet Hose’s defective propensities.
18          65.    Plaintiff served Defendant with notice of its CLRA violations by serving
19    notice on May 5, 2021. More than thirty days have passed and Defendant has failed to
20    remedy the defects as requested. A copy of the notice is attached to this Complaint as
21    Exhibit A.
22          WHEREFORE, Plaintiff on behalf of himself and for all others similarly situated,
23    demands a permanent injunction be issued against Defendant to refrain from continued
24    advertising of the Silver Bullet Hose that omits material facts about product performance,
25    injunctive relief forcing Defendant to replace and repair all Silver Bullet Hoses for the
26    members of the Classes, plus costs and attorneys’ fees pursuant to California Civil Code
27    section 1780(d).

28    \\\

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 1                               SECOND CAUSE OF ACTION
          Violation of California Unfair Competition Law- Unlawful Business Practice
 2                (On Behalf of the Nationwide Class and the California Class)
 3          66.    Plaintiff incorporates by reference the allegations contained in paragraphs 1
 4    through 59 of this Complaint.
 5          67.    California Business and Professions Code section 17200 et seq. prohibits
 6    acts of unfair competition, which includes unlawful business practices.
 7          68.    Defendant engaged in unlawful business practices in failing to disclose the
 8    Silver Bullet Hose fails prematurely. Specifically, Defendant violated the California
 9    Consumers Legal Remedies Act (CLRA), California Civil Code section 1750 et seq., and
10    the Song-Beverly Consumer Warranty Act, California Civil Code section 1790 et seq., as
11    set forth herein.
12          69.    Defendant’s deceptive practices constitute an unlawful business practice in
13    that the practices were specifically designed to induce Plaintiff, members of the Classes,
14    and their agents or third parties upon whom Plaintiff and members of the Classes relied to
15    provide appropriate guidance regarding suitable water hoses, to purchase on members of
16    the Classes’ behalf the Silver Bullet Hose and use it.
17          70.    To this day, Defendant have engaged and continue to engage in unlawful
18    business practices by concealing the defective nature of the Silver Bullet Hose and have
19    knowingly misrepresented to members of the Classes the Silver Bullet Hose possesses
20    qualities and characteristics they do not have.
21          71.    As a direct and proximate cause of Defendant’s unfair and unlawful methods
22    of competition and unfair, deceptive, or unlawful acts or practices, Plaintiff and members
23    of the Classes have suffered actual damages. The Silver Bullet Hose has failed and will
24    continue to prematurely fail due to its poor development, design, and unsuitability for its
25    intended purpose, which will require (or has already required) Plaintiff and members of
26    the Classes to incur costs to prematurely repair and/or replace it.
27          72.    As a proximate result of their unlawful, unfair, or fraudulent practices,
28    Defendant has been unjustly enriched and should be required to make restitution to the

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 1    Plaintiff and members of the Classes pursuant to sections 17203 and 17204 of the
 2    California Business & Professions Code.
 3          WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated,
 4    demands judgment against Defendant, for restitution and/or disgorgement of funds paid
 5    to Defendant by Plaintiff and members of the Classes to purchase the Silver Bullet Hose
 6    or in the form of repair and/or replacement of the defective Silver Bullet Hoses.
 7                                 THIRD CAUSE OF ACTION
                  Violation of Unfair Competition Law – Unfair Business Practice
 8                 (On Behalf of the Nationwide Class and the California Class)
 9          73.    Plaintiff incorporates by reference the allegations contained in paragraphs 1
10    through 59 of this Complaint.
11          74.    Defendant engaged in an unfair business practice by knowingly failing to
12    disclose material facts concerning the Silver Bullet Hose.
13          75.    Defendant’s “unfair” practices were designed to induce Plaintiff and
14    members of the Classes, or their agents, and/or third parties upon which Plaintiff and
15    members of the Classes relied to procure appropriate hoses, to purchase the Silver Bullet
16    Hose and recommend the use of the Silver Bullet Hose.
17          76.    To this day, Defendant has failed to disclose facts concerning the Silver
18    Bullet Hose performance, facts that would be and are material to the consumer or those
19    third parties, on which consumers relied to procure appropriate hoses.
20          77.    As a direct and proximate cause of Defendant’s unfair methods of
21    competition and unfair or deceptive acts or practices, Plaintiff and members of the
22    Classes have suffered actual damages. The Silver Bullet Hose will prematurely fail due
23    to inadequate product testing poor design and/or development techniques, which will
24    require Plaintiff and members of the Classes to incur costs to prematurely repair and/or
25    replace hoses.
26          WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated,
27    demands judgment against Defendant, for restitution and/or disgorgement of funds paid
28    to Defendant by Plaintiff and members of the Classes to purchase the Silver Bullet Hose

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 1    or in the form of repair and/or replacement of the defective Silver Bullet Hoses.
 2                                 FOURTH CAUSE OF ACTION
                                     Breach of Implied Warranty
 3                   (On Behalf of the Nationwide Class and the California Class)
 4          78.      Plaintiff incorporates by reference the allegations contained in paragraphs 1
 5    through 59 of this Complaint.
 6          79.      Defendant designed, developed, manufactured, and sold the Silver Bullet
 7    Hose knowing that Plaintiff and members of the Classes would use it.
 8          80.      Defendant is a merchant of the Silver Bullet Hose and marketed, promoted,
 9    and sold it to the consuming either directly or through its authorized dealers or retailers.
10    Defendant expected the consuming public, including Plaintiffs and members of the
11    Classes, to use the Silver Bullet Hose as a water hose and such use was reasonably
12    foreseeable.
13          81.      At the time Defendant or its agents sold the Silver Bullet Hoses, they were
14    not in merchantable condition, were not fit for the ordinary purpose for which water
15    hoses are used, and were likely to fail within the first few uses.
16          82.      Defendant warranted to Plaintiff and members of the Classes that the Silver
17    Bullet™ Hose was of a quality that would pass without objection in the trade and was at
18    least fit for the ordinary purposes for which such goods were used, and in all other
19    respects were of merchantable quality.
20          83.      Plaintiff and members of the Classes relied on that implied warranty.
21          84.      As alleged here, Defendant concealed and failed to disclose the true nature
22    of the quality of the Silver Bullet Hose and failed to adequately warn Plaintiff and the
23    Classes of problems associated with Silver Bullet Hose use.
24          85.      Defendant breached their implied warranties of merchantability because the
25    Silver Bullet Hose was not of merchantable quality, was defectively designed, was unfit
26    for the ordinary purposes for which it was designed and used, and was likely to fail
27    within the first few uses.
28          86.      The Product was unmerchantable due to a latent Defect that was present at

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 1    the time of sale and could not reasonably have discovered sooner.
 2             87.   Plaintiff and the Classes notified Defendant of the defective nature of the
 3    Silver Bullet Hose and that Defendant breached these warranties within a reasonable time
 4    of discovery.
 5             88.   As a direct and proximate result of Defendant’s breaches of the implied
 6    warranty of merchantability and fitness for a particular purpose, Plaintiff and members of
 7    the Classes have been damaged in an amount to be proven at trial.
 8             WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated,
 9    demands judgment against Defendant, and each of them, for damages in an amount to be
10    proven at trial.
                                     FIFTH CAUSE OF ACTION
11
                          Breach of Implied Warranty of Merchantability,
12                           Song-Beverly Act, Civ. Code § 1790 et seq.
                     (On Behalf of the Nationwide Class and the California Class)
13
               89.   Plaintiff incorporates by reference the allegations contained in paragraphs 1
14
      through 59 of this Complaint.
15
               90.   Plaintiff asserts this claim for violation of the Song-Beverly Act, Civ. Code
16
      § 1790 on behalf of himself and the members of the Classes.
17
               91.   This cause of action is brought for breach of implied warranties of
18
      merchantability and fitness on all new consumer goods sold at retail, pursuant to the
19
      Song-Beverly Act, Civ. Code § 1790, et seq.
20
               92.   Cal. Civ. Code § 1791.1(a) states: "Implied warranty of merchantability" or
21
      "implied warranty that goods are merchantable" means that the consumer goods meet
22
      each of the following:
23
               93.   Pass without objection in the trade under the contract description.
24
               94.   Are fit for the ordinary purposes for which such goods are used.
25
               95.   Are adequately contained, packaged, and labeled.
26
               96.   Conform to the promises or affirmations of fact made on the container or
27
      label.
28

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 1          97.    The Silver Bullet Hose is a "consumer good" within the meaning of Civ.
 2    Code § 1791(a), Plaintiff and members of the Classes are "buyers of consumer goods"
 3    within the meaning of Civ. Code § 1791(b), and Defendant is a "retail seller" and
 4    "manufacturer" within the meanings of Civ. Code § 1791(j) and (l).
 5          98.    Defendant's warranty of merchantability and fitness for a particular purpose
 6    arose out of and/or was related to its manufacture and sales of the Silver Bullet Hose to
 7    consumers. Defendant impliedly warranted that the Silver Bullet Hose was in
 8    merchantable condition and fit for the ordinary purpose for which vehicles are used.
 9          99.    As set forth more fully above, Defendant has failed to comply with its
10    obligations under its implied warranties of merchantability and fitness. Defendant knew
11    or had reason to know of the specific use for which the Silver Bullet Hoses were
12    purchased.
13          100. Contrary to the applicable implied warranties, the Silver Bullet Hoses the
14    time of sale and thereafter were not fit for its ordinary and intended purpose of providing
15    Plaintiff and members of the Classes with a useable hose, would not pass without
16    objection in the trade, were not adequately labeled, and did not conform to the promises
17    and affirmation on its labels. Instead, the Silver Bullet Hoses are defective.
18          101. The alleged Defect is inherent and was present in each Silver Bullet Hose at
19    the time of sale.
20          102. Defendant was provided notice of the Defect by numerous consumer
21    complaints made on sales platform websites such as Amazon.com, websites of other
22    retailers selling its products (e.g., Home Depot, Walmart), Defendant's Face Book page,
23    lawsuits, and through its own testing. Affording Defendant a reasonable opportunity to
24    cure its breach of implied warranties would be unnecessary and futile here because
25    Defendant has known of and concealed the Defect and, Plaintiff is informed and believes
26    that Defendant has refused to repair or replace the Silver Bullet Hose free of charge
27    within a reasonable time.

28          103. Defendant breached its implied warranties in violation of Cal. Civ. Code §

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 1    1791 et seq.
 2           104. As a direct and proximate result of Defendant's breach of its implied
 3    warranties, Plaintiff and members of the class have been damaged in an amount to be
 4    proven at trial.
 5           105. Plaintiff and the other members of the Classes have suffered and will
 6    continue to suffer damages as a result of Defendant's failure to comply with its warranty
 7    obligations. Plaintiff and the Class are, therefore, entitled to recover damages under the
 8    Song-Beverly Act, including damages pursuant to Civ. Code §§ 1791(d) and 1794.
 9           106. Plaintiff and members of the class have been excused from performance of
10    any warranty obligations as a result of Defendant' conduct described here.
11           107. Plaintiff and members of the class seek actual damages, costs, attorneys'
12    fees, and statutory damages as a result of Defendant' willful conduct alleged here.
13    Plaintiff and members of the class also seek reimbursement or replacement of the
14    defective Silver Bullet Hose, and all other relief available under Cal Civ. Code § 1794.
15           108. The applicable statute of limitations for the implied warranty claim has been
16    tolled by the discovery rule and/or fraudulent concealment.
17           WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated,
18    demands judgment against Defendant, and each of them, for damages in an amount to be
19    proven at trial.
20                                   SIXTH CAUSE OF ACTION
                                         Unjust Enrichment
21                   (On Behalf of the Nationwide Class and the California Class)
22           109. Plaintiff incorporates by reference the allegations contained in paragraphs 1
23    through 59 of this Complaint.
24           110. As the intended and expected result of its conscious wrongdoing, Defendant
25    has profited and benefited from the purchase of the Silver Bullet™ Hose by Plaintiff and
26    the Classes. Plaintiff and Classes’ payments for the Silver Bullet™ Hose flowed to
27    Defendant.
28           111. Defendant have voluntarily accepted and retained these profits and benefits,

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 1    derived from Plaintiff and the Classes, with full knowledge and awareness that, as a result
 2    of its misconduct, Plaintiff and the Classes were not receiving products of the quality,
 3    nature, fitness or value that had been represented by Defendant, and that Plaintiff and the
 4    Classes, as reasonable consumers, expected.
 5           112. Defendant have been unjustly enriched by their fraudulent and deceptive
 6    withholding of benefits from Plaintiff and the Classes, at the expense of Plaintiff and the
 7    Classes.
 8           113. Defendant’s retention of these profits and benefits is inequitable.
 9           114. Plaintiff and the Classes seek the disgorgement and restitution of
10    Defendant’s wrongful profits, revenue, and benefits, plus interest, to the extent and in the
11    amount deemed appropriate by the Court, and such other relief as the Court deems just
12    and proper to remedy Defendant’s unjust enrichment.
13           WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated,
14    demands judgment against Defendant, and seek the disgorgement and restitution of
15    Defendant’s wrongful profits, revenue and benefits, plus interest, to the extent and in the
16    amount deemed appropriate by the Court, and such other relief as the Court deems just
17    and proper to remedy Defendant’s unjust enrichment.
                                   PRAYER FOR RELIEF
18
             WHEREFORE, Plaintiff prays that the Court enter judgment against Defendant
19
      and in favor of Plaintiff, and to award the following relief:
20
          (a) Certification of the Classes with Plaintiff appointed as class representatives and the
21
             undersigned appointed as Class Counsel;
22
          (b) A declaration that Defendant is financially responsible for notifying all members of
23
             the Classes of the problems with the Silver Bullet Hose;
24
          (c) Injunctive relief requiring Defendant to replace and/or repair all the Silver Bullet
25
             Hoses owned by the Classes, and enjoining Defendant from continuing to pursue
26
             the policies, acts and practices described in this Complaint;
27
          (d) A declaration that Defendant must disgorge, for the benefit of the Classes, all or
28

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 1           part of its ill-gotten profits received from the sale of the defective the Silver Bullet
 2           Hose, and/or to make full restitution to Plaintiff and the members of the Classes;
 3        (e) An award of all actual, general, special, incidental, statutory, treble, or other

 4           multiple, punitive and consequential damages under statutory and common law as
 5           alleged in this Complaint, in an amount to be determined at trial, except that
 6           Plaintiff does not seek damages under the CLRA yet;
 7        (f) An award to the Classes for economic injury due to the price premium that they

 8           paid at or following the point of sale;
 9        (g) An award of pre-judgment and post-judgment interest at the maximum rate

10           allowable by law;
11        (h) An award of costs and attorneys’ fees, as allowed by law, and/or from a common

12           fund created hereby; and
13        (i) Orders granting such other and further relief as may be appropriate.

14                                      JURY TRIAL DEMAND
15            Plaintiff hereby demands a jury trial for all individual and Class claims so triable.
16    Dated: June 14, 2021                     By:           /s/ Michael F. Ram
                                                             Michael F. Ram
17
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18
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 1        AFFIDAVIT OF VENUE PURSUANT TO CIVIL CODE SECTION 1780(d)
            I, Michael F. Ram, declare as follows:
 2
            1.     I am an Attorney at Morgan & Morgan, Complex Litigation Group and one
 3
      of the attorneys working on this case.
 4
            2.     Pursuant to California Civil Code section 1780(d), this action has been filed
 5
      in this county because Defendant is doing business in this county, and a substantial
 6
      portion of the transaction, events or omissions giving rise to the claims occurred in this
 7
      county.
 8
            I declare the foregoing to be true under penalty of perjury. Executed one Jun 9,
 9
      2021 at San Francisco, California.
10
11                                                   /s/ Michael F. Ram
12                                                       Michael F. Ram
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